                                            3:18-cv-03099-CSB # 21        Page 1 of 2
                                                                                                                         E-FILED
AO 458 (Rev. 06/09) Appearance of Counsel                                            Wednesday, 11 July, 2018 10:11:53 AM
                                                                                            Clerk, U.S. District Court, ILCD
                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                 Central District
                                                __________          of__________
                                                           District of Illinois

                    Ê¿²±µ¿ É¿-¸·²¹¬±²                           )
                             Plaintiff                          )
                                v.                              )      Case No.    íæïèó½ªóðíðççóÝÍÞ
                    Í¬»°¸¿² Î§¿²ô »¬ ¿´ò                        )
                            Defendant                           )

                                                 APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Ì§´»® Ü®¿´´»ô Ý±®»§ Ý±®¬»-ô ¿²¼ Õ»»²¿² Í³·¬¸                                                                     .


Date:          ðéñïïñîðïè                                                                 -ñÓ»¹¿² Ó«®°¸§
                                                                                          Attorney’s signature


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                               3:18-cv-03099-CSB # 21      Page 2 of 2

                              UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF ILLINOIS



             Ê¿²±µ¿ É¿-¸·²¹¬±²                  )
                   Plaintiff                    )
                      v.                        )     Case No. íæïèó½ªóðíðççóÝÍÞ
             Í¬»°¸¿² Î§¿²ô »¬ ¿´ò               )
                  Defendant                     )


                                    CERTIFICATE OF SERVICE

                   ðéñïïñîðïè
I certify that on _______________, I electronically filed the foregoing with the Clerk of the

Court using the CMECF system which will send notification of such filing to the following:

_____________________________________________________________________________,

and I certify that I have mailed by the United States Postal Service the document to the following

non CMECF participants:

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_____________________________________________________________________________.




                                                              -ñÓ»¹¿² Ó«®°¸§
                                                             Attorney’s signature

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